Case 2:17-cv-08996-DMG-SS Document 10 Filed 12/15/17 Page 1 of 11 Page ID #:91
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   8                       UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
   9
   10 JOSEFF−HOLLYWOOD                             CASE NO:
      CORPORATION                                  2:17−cv−08996−DMG−SS
   11
                Plaintiff(s),
   12                                              INITIAL STANDING ORDER
          v.
   13
      MICHELE BASTIN
   14          Defendant(s).
   15
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   17
   18        PLEASE READ THIS ORDER CAREFULLY. IT GOVERNS THIS
   19   CASE AND DIFFERS IN SOME RESPECTS FROM THE LOCAL RULES.
   20        COUNSEL FOR PLAINTIFFS SHALL SERVE THIS ORDER
   21   IMMEDIATELY ON ALL PARTIES AND/OR THEIR COUNSEL, INCLUDING
   22   ANY NEW PARTIES TO THE ACTION. IF THIS CASE WAS REMOVED
   23   FROM STATE COURT, DEFENDANT WHO REMOVED THE CASE SHALL

   24   SERVE THIS ORDER ON ALL OTHER PARTIES.

   25        This case has been assigned to the calendar of Judge Dolly M. Gee. Both

   26   the Court and counsel bear responsibility for the progress of this litigation in

   27   federal court. To “secure the just, speedy, and inexpensive determination”of this

   28   case, as called for in Fed. R. Civ. P. 1, all parties or their counsel are ordered to


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        become familiar with the Federal Rules of Civil Procedure, the Local Rules of
   2    the Central District of California, and this Court’s standing orders.
   3         1.    SERVICE OF THE COMPLAINT
   4         Plaintiff shall promptly serve the complaint in accordance with Fed. R. Civ.

   5    P. 4 and file the proofs of service pursuant to Local Rule 5-3.1. Any defendant not
   6    timely served under Fed. R. Civ. P. 4(m) shall be dismissed from the action
   7    without prejudice.
   8         2.    ASSIGNMENT TO A MAGISTRATE JUDGE
   9         Under 28 U.S.C. § 636, the parties may consent to have a Magistrate Judge
   10   preside over all proceedings, including trial. The Magistrate Judges who accept
   11   those designations are identified on the Central District’s website, which also
   12   contains the consent form.

   13        3.    DISCOVERY
   14        a.    Discovery Matters Referred to Magistrate Judge
   15        All discovery matters have been referred to the assigned United States
   16   Magistrate Judge, who will hear all discovery disputes. The Magistrate Judge’s
   17   initials follow the District Judge’s initials next to the case number. All discovery-

   18   related documents must include the words “DISCOVERY MATTER” in the

   19   caption to ensure proper routing. Counsel are directed to contact the Magistrate
   20   Judge’s courtroom deputy clerk to schedule matters for hearing. Please comply
   21   with Local Rule 37 and deliver mandatory chambers copies of discovery-related
   22   papers to the Magistrate Judge assigned to this case rather than to this Court
   23        In accordance with 28 U.S.C. § 636(b)(1)(A), the Court will not reverse any
   24   order of the Magistrate Judge unless it has been shown that the Magistrate Judge’s

   25   order is clearly erroneous or contrary to law.
   26        Any party may file and serve a motion for review and reconsideration before

   27   this Court. See Local Rule 72-2. The moving party must file and serve the motion

   28   within fourteen (14) days of service of a written ruling or within fourteen (14) days


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        of an oral ruling that the Magistrate Judge states will not be followed by a written
   2    ruling. The motion must specify which portions of the ruling are clearly erroneous
   3    or contrary to law and support the contention with points and authorities. Counsel
   4    shall deliver a conformed copy of the moving papers and responses to the

   5    Magistrate Judge’s courtroom deputy clerk at the time of filing.
   6         b.    Compliance with Fed. R. Civ. P. 26(a)
   7         Unless there is a likelihood that upon motion by a party the Court would
   8    order that any or all discovery is premature, it is advisable for counsel to begin to
   9    conduct discovery actively before the Scheduling Conference. At the very least,
   10   the parties shall comply fully with the letter and spirit of Fed. R. Civ. P. 26(a)
   11   and thereby obtain and produce most of what would be produced in the early stage
   12   of discovery, because at the Scheduling Conference the Court will impose firm

   13   deadlines to complete discovery.
   14        4.    MOTIONS - GENERAL REQUIREMENTS
   15        a.    Time for Filing and Hearing Motions
   16        Motions shall be filed in accordance with Local Rule 7. This Court hears
   17   motions on Fridays, beginning at 9:30 a.m. If Friday is a national holiday,

   18   motions will be heard on the next Friday. It is not necessary to clear a hearing date

   19   with the court clerk before filing a motion, except for motions for summary
   20   judgment or preliminary injunction. If the motion date selected is not available,
   21   the Court will issue a minute order continuing the date.
   22        b.    Pre-Filing Requirement To Meet and Confer
   23        Counsel must comply with Local Rule 7-3, which requires counsel to engage
   24   in a pre-filing conference “to discuss thoroughly . . . the substance of the

   25   contemplated motion and any potential resolution.” Counsel should discuss the
   26   issues to a sufficient degree that if a motion is still necessary, the briefing may be

   27   directed to those substantive issues requiring resolution by the Court. Counsel

   28   should resolve minor procedural or other non-substantive matters during the


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        conference. The pro se status of one or more parties does not negate this
   2    requirement.
   3         c.    Length and Format of Motion Papers
   4         Memoranda of points and authorities shall not exceed 25 pages. See Local

   5    Rule 11-6. Only in rare instances and for good cause shown will the Court grant
   6    an application to extend these page limitations. No supplemental brief shall be
   7    filed without prior leave of Court.
   8         If documentary evidence in support of or in opposition to a motion exceeds
   9    50 pages, the evidence must be separately bound and tabbed and include an index.
   10   If such evidence exceeds 200 pages, the documents shall be placed in a Slant D-
   11   Ring binder, with an index and with each item of evidence separated by a tab
   12   divider on the right side.

   13        d.     Citations to Case Law
   14        Citations to case law must identify not only the case cited, but the specific
   15   page referenced.
   16        e.    Citations to Other Sources
   17        Statutory references should identify with specificity the sections and

   18   subsections referenced. Citations to treatises, manuals, and other materials should

   19   include the volume, section, and pages being referenced.
   20        f.   Oral Argument
   21        If the Court deems a matter appropriate for decision without oral argument,
   22   the Court will notify the parties in advance.
   23        5.    SPECIFIC MOTION REQUIREMENTS
   24        a.    Motions Pursuant to Rule 12

   25        Many motions to dismiss or to strike can be avoided if the parties confer in
   26   good faith (as required by Local Rule 7-3), especially for perceived defects in a

   27   complaint, answer, or counterclaim that could be corrected by amendment. See

   28   Chang v. Chen, 80 F.3d 1293, 1296 (9th Cir. 1996) (where a motion to dismiss is


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        granted, a district court should provide leave to amend unless it is clear that the
   2    complaint could not be saved by any amendment). Moreover, a party has the right
   3    to amend the complaint “once as a matter of course at any time before a responsive
   4    pleading is served.” Fed. R. Civ. P. 15(a). A Rule 12(b)(6) motion is not a

   5    responsive pleading and therefore plaintiff might have a right to amend. See, e.g.
   6    St. Michael’s Convalescent Hospital v. California, 643 F.2d 1369, 1374 (9th Cir.
   7    1981); Nolen v. Fitzharris, 450 F.2d 958, 958-59 (9th Cir. 1971). Even after a
   8    complaint has been amended or a responsive pleading has been served, the Federal
   9    Rules provide that leave to amend should be “freely given when justice so
   10   requires.” Fed. R. Civ. P. 15(a). The Ninth Circuit requires that this policy
   11   favoring amendment be applied with “extreme liberality.” Morongo Band of
   12   Mission Indians v. Rose, 893 F.2d 1074, 1079 (9th Cir. 1990).

   13        These principles require that plaintiff’s counsel carefully evaluate
   14   defendant’s contentions as to the deficiencies in the complaint. In most instances,
   15   the moving party should agree to any amendment that would cure the defect.
   16        b.    Motions to Amend
   17        In addition to the requirements of Local Rule 15-1, all motions to amend

   18   pleadings shall: (1) state the effect of the amendment and (2) identify the page and

   19   line number(s) and wording of any proposed change or addition of material. The
   20   proposed amended pleading shall be serially numbered to differentiate it from
   21   previously amended pleadings.
   22        Counsel shall electronically file a “Notice of Lodging,” attaching the
   23   proposed amended pleading as a document separate from the motion, and shall
   24   attach as an appendix to the moving papers a “redlined” version of the proposed

   25   amended pleading indicating all additions and deletions of material.
   26        c.    Motions for Class Certification

   27        Notwithstanding Local Rule 23-3, the deadline for the filing of a motion for

   28   class certification will be set pursuant to the parties’ stipulation, during the


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        Scheduling Conference, or in a Scheduling Order. No request for relief from Local
   2    Rule 23-3 is necessary.
   3         d.    Summary Judgment Motions
   4         Parties need not wait until the motion cutoff to bring motions for summary

   5    judgment or partial summary judgment. The hearing on any such motion shall be
   6    set for a date in advance of the Final Pretrial Conference. Each side may bring one
   7    motion for summary judgment or partial summary judgment. The parties shall not
   8    attempt to evade the page limitations for briefs by filing multiple motions.
   9    Whenever possible, the party moving for summary judgment should provide
   10   more than the minimum 28-day notice for motions. The parties should prepare
   11   papers in a fashion that will assist the Court in absorbing the mass of facts (e.g.,
   12   generous use of tabs, tables of contents, headings, indices, pinpoint citations, etc.).

   13   The parties are to comply with Local Rule 56-1 through 56-2, taking into account
   14   the Court’s additional requirements described below.
   15              i.    Statements of Uncontroverted Facts and Genuine Disputes
   16        The Separate Statement of Uncontroverted Facts required under Local Rule
   17   56-1 shall be prepared in a two-column format. The left-hand column sets forth

   18   the allegedly undisputed fact. The right-hand column sets forth the evidence that

   19   supports the factual statement. The factual statements should be set forth in
   20   sequentially numbered paragraphs. Each paragraph should contain a narrowly
   21   focused statement of fact. Each numbered paragraph should address a single
   22   subject as concisely as possible. The “Conclusions of Law” portion of the
   23   Statement should be inserted after the Statement of Uncontroverted Facts.
   24        The opposing party’s Statement of Genuine Disputes of Material Fact must

   25   be in two columns and track the movant’s separate statement exactly as prepared.
   26   The left-hand column must restate the allegedly undisputed fact, and the right-hand

   27   column must state either that it is undisputed or disputed. The oppposing party may

   28   dispute all or only a portion of the statement, but if disputing only a portion, it


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        must clearly indicate what part is being disputed, followed by a brief citation to the
   2    opposing party’s evidence controverting the fact. To demonstrate that a fact is
   3    disputed, the opposing party must briefly state why it disputes the moving party’s
   4    asserted fact, cite to the relevant exhibit or other piece of evidence, and describe

   5    what it is in that exhibit or evidence that refutes the asserted fact. No legal
   6    argument should be set forth in this document.
   7         The opposing party may submit additional material facts that bear on or
   8    relate to the issues raised by the movant, which shall follow the format described
   9    above for the moving party’s separate statement. These additional facts shall
   10   continue in sequentially numbered paragraphs and shall set forth in the right hand
   11   column the evidence that supports that statement.
   12        With its Reply, the moving party shall file a Response to the Statement of

   13   Genuine Disputes of Material Fact and Additional Material Facts. For each fact,
   14   the Response shall restate the allegedly undisputed fact and state whether the fact
   15   is disputed or undisputed by the opposing party. If the fact is undisputed, no
   16   further response is required.
   17        If the fact is disputed, the Response shall restate the opposing party’s

   18   evidence and reason for disputing the asserted fact. The moving party may provide

   19   a response to the opposing party’s reason for dispute, including any reason why the
   20   evidence cited by the opposing party does not create a genuine dispute and/or any
   21   additional evidence relevant to the asserted fact. This response may either be
   22   presented in three columns, with the response appearing in the right-hand column,
   23   or in two columns, with a response provided below each fact.
   24        The Response may also include any response to additional material facts

   25   asserted by the non-moving party, and this response shall follow the format
   26   described above for the Statement of Genuine Disputes of Material Fact. The

   27   response to these additional facts shall continue in sequentially numbered

   28   paragraphs, and shall not restart the numbering.


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             All facts asserted by either party, whether disputed or undisputed, and all
   2    supporting evidence cited, shall be included in the Response. DO NOT REPEAT
   3    DESCRIPTIONS OF AND CITATIONS TO THE EVIDENCE. If you have
   4    already described and cited the evidence once, simply refer to the earlier citation

   5    succinctly (e.g., See supra, Fact # 1). See PDF samples on Judge Gee’s Procedures
   6    and Schedules website for preferred formatting examples.
   7               ii.    Supporting Evidence
   8         No party shall submit evidence other than the specific items of evidence or
   9    testimony necessary to support or controvert a proposed statement of undisputed
   10   fact. For example, entire deposition transcripts, entire sets of interrogatory
   11   responses, and documents that do not specifically support or controvert material in
   12   the separate statement shall not be submitted in opposition to a motion for

   13   summary judgment.
   14        Evidence submitted in support of or in opposition to a motion should be
   15   submitted either by way of stipulation or as exhibits to declarations sufficient to
   16   authenticate the proffered evidence, and should not be attached to the
   17   memorandum of points and authorities. Documentary evidence as to which there

   18   is no stipulation regarding foundation must be accompanied by the testimony,

   19   either by declaration or properly authenticated deposition transcript, of a witness
   20   who can establish authenticity.
   21              iii.   Objections to Evidence
   22        If a party disputes a fact based in whole or in part on an evidentiary
   23   objection, the ground of the objection should be succinctly stated in a separate
   24   statement of evidentiary objections in a two-column format. The left column

   25   should identify the items objected to (including page and line number if applicable)
   26   and the right column should set forth a concise objection (e.g., hearsay, lacks

   27   foundation, etc.) with a citation to the Federal Rules of Evidence or, where

   28   applicable, a case citation.


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             6.    PROPOSED ORDERS
   2         Each party filing or opposing a motion or seeking the determination of any
   3    matter shall serve and electronically lodge a proposed order setting forth the relief
   4    or action sought and a brief statement of the rationale for the decision with

   5    appropriate citations. In addition, a copy of the Proposed Order in Word or
   6    WordPerfect format shall be emailed to Judge Gee’s generic chambers e-mail
   7    address using the CM/ECF System on the day the document is e-filed.
   8         7.    COURTESY COPIES
   9         All original filings are to be filed electronically pursuant to Local Rule 5-4.
   10   The Court requires ONE mandatory chambers copy of only the following filed
   11   documents to be delivered to the Clerk’s Office Window on the 4th floor (350
   12   West 1st Street) no later than 12:00 p.m. the next business day after filing:

   13             a. All motions and related documents and exhibits;
   14             b. Criminal matters: all motions and related documents and exhibits,
   15                 plea agreements, and sentencing position papers.
   16   See below for instructions regarding courtesy copies of ex parte applications and
   17   related documents. Courtesy copies DO NOT need to be blue-backed. All

   18   mandatory chambers copies shall be two-hole punched at the top.

   19        8.    TELEPHONIC HEARINGS
   20        The Court may permit appearances or arguments by way of telephone
   21   conference calls upon a showing that a personal appearance will cause undue
   22   hardship. If you wish to appear by telephone, you must (a) email the courtroom
   23   deputy clerk and copy opposing counsel at least three (3) days in advance of the
   24   scheduled appearance; (b) use a landline to call into the bridge line provided by

   25   the clerk; and (c) be available at that number for at least 15 minutes before the
   26   time of the scheduled hearing.

   27        9.    EX PARTE APPLICATIONS

   28        The Court considers ex parte applications on the papers and does not usually


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         set these matters for hearing. If a hearing is necessary, the parties will be notified.
    2    Ex parte applications are solely for extraordinary relief and should be used with
    3    discretion. Sanctions may be imposed for misuse of ex parte applications. See
    4    Mission Power Engineering Co. v. Continental Casualty Co., 883 F. Supp. 488

    5    (C.D. Cal. 1995).
    6         Counsel’s attention is directed to the Local Rules. Ex parte applications that
    7    fail to conform to Local Rule 7-19 and 7-19.1, including a statement of opposing
    8    counsel’s position, will not be considered except on a specific showing of good
    9    cause. The moving party shall electronically serve the opposing party, if possible.
    10   A party is considered served once the ex parte application has been e-filed (all
    11   parties set up for electronic service are sent a notification of ECF filing each time a
    12   document is e-filed with a link to the document for one free view). Parties set up

    13   for service by fax or mail must be served the ex parte application by fax or
    14   personal service.
    15        Following service of the ex parte papers by electronic service, fax, or
    16   personal service, the moving party shall notify the opposition that opposing papers
    17   must be filed no later than twenty-four (24) hours following service. On the day

    18   the documents are e-filed, a conformed courtesy copy of moving, opposition, or

    19   notice of non-opposition papers are to be delivered to the Clerk’s Office Window

    20   on the 4th floor (350 West 1st Street). Counsel will be notified by the clerk of the
    21   Court’s ruling. If counsel does not intend to oppose an ex parte application, he or
    22   she must inform the courtroom deputy clerk at (213) 894-5452.
    23        10.   CONTINUANCES
    24        This Court has a strong interest in keeping scheduled dates certain. Changes

    25   in dates are disfavored. Trial dates set by the Court are firm and will rarely be

    26   changed. Therefore, a stipulation to continue or extend the date of any matter
    27   before this Court must be supported by a sufficient factual basis that demonstrates
    28   good cause why the change in the date is essential. Without such compelling

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         factual support and a showing of due diligence, stipulations continuing dates set by
    2    this Court will not be approved. Counsel requesting a continuance or extension of
    3    time must electronically file a stipulation and lodge a proposed order including a
    4    detailed declaration of the grounds for the requested continuance or extension of
    5    time. Failure to comply with the Local Rules and this Order will result in rejection
    6    of the request without further notice to the parties. Proposed stipulations extending
    7    scheduling dates do not become effective unless and until this Court so orders.
    8    Counsel should avoid submitting requests for continuance or extension of time
    9    less than five (5) court days prior to the expiration of the scheduled date. A
    10   request to continue or extend dates or deadlines that have already expired is
    11   presumptively a lack of due diligence.
    12        11.   ORDER SETTING SCHEDULING CONFERENCE
    13        Pursuant to Fed. R. Civ. P.16(b), the Court will issue an Order setting a
    14   Scheduling Conference as required by Fed. R. Civ. P. 26 and the Local Rules of
    15   this Court. Strict compliance with Fed. R. Civ. P. 16 and 26 is required.
    16
            IT IS SO ORDERED.
    17
    18 DATED: December 15, 2017
    19                                                   DOLLY M. GEE
                                                   UNITED STATES DISTRICT JUDGE
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